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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                             Plaintiffs,
                                                              No. 24-mc-00353-LJL
v.

RUDOLPH W. GIULIANI,

                             Defendant.



PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR AN
 ORDER TO SHOW CAUSE WHY DEFENDANT RUDOLPH W. GIULIANI SHOULD
         NOT BE HELD IN CONTEMPT FOR FAILING TO COMPLY
                   WITH THE TURNOVER ORDERS

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       Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs” or “Plaintiffs-Receivers”)

respectively submit this memorandum of law in support of their motion for an order to show cause

why Defendant Rudolph W. Giuliani should not be held in civil contempt for violating the Court’s

October 22, 2024 Order on Plaintiffs’ Motion to Enforce Judgment, ECF No. 62 (the “Turnover

Order”), the Court’s November 8, 2024 Order, ECF No. 94 (the “Instructions Order”), and the

Court’s November 22, 2024 Order, ECF No. 148 (the “Modified Instructions Order,” and together

with the Turnover Order and the Instructions Order, the “Turnover Orders”).

                                      INTRODUCTION

       Mr. Giuliani has had more than seven weeks to comply with the Court’s Turnover Order

requiring him to “deliver to Plaintiffs-Receivers, and execute and deliver any document necessary

to effectuate delivery to Plaintiffs-Receivers of, all of the Receivership Property”—a category

defined based on how Mr. Giuliani himself described his own assets in a bankruptcy proceeding

in another court in this District—by October 29, 2024. In the intervening time, Mr. Giuliani has

not turned over a single dollar to Plaintiffs-Receivers, or any of a number of specific items of

personal property that he has been unambiguously ordered to deliver, including a signed Joe

DiMaggio shirt, signed Reggie Jackson picture, signed Yankee Stadium picture, or many of the

various household goods or furnishings that he valued at $20,000 and which public photographs

show he possessed in his New York Apartment. It is unclear at this point even where those

possessions are located. Even the limited items that Mr. Giuliani has delivered involve notable

omissions. Mr. Giuliani has delivered his Mercedes but no paper title or ownership documents.

He has delivered 18 watches, out of the 26 he identified as assets. He has delivered a single

diamond ring, but none of the costume jewelry identified in the Turnover Order and his bankruptcy

filings. He has provided access to his apartment in New York, but no keys or ownership




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documents, and has left Plaintiffs-Receivers to sort through significant logistical obstacles to a

sale, including the presence of his ex-wife’s name on the title.

       Instead, Mr. Giuliani has spent the last six weeks attempting to shift responsibility and

require Plaintiffs-Receivers to expend their own time, energy, and resources engaging in a wild

goose chase. Despite representing to the Court that all of his assets are located in only “[t]hree

places”—in his New York and Palm Beach apartments and in “a storage facility in Ronkonkoma”

(“CTS”)—Mr. Giuliani’s New York Apartment is substantially empty, and apparently has been

since before the Turnover Order. And while Mr. Giuliani has now delivered some of the items that

were stored at the CTS storage facility, none of that property includes the specific items described

above. Meanwhile, the only items Mr. Giuliani has delivered from his Palm Beach apartment are

the Mercedes, the watches, and the ring. As far as his cash assets or ownership documents relating

to his car and New York Apartment, Mr. Giuliani has delivered none—instead insisting that it is

Plaintiffs-Receivers’ duty to provide him with whatever paperwork is necessary to transfer

ownership.

       On November 7, 2024, the Court explained in no uncertain terms and in Mr. Giuliani’s

presence that Mr. Giuliani is “under an unqualified obligation to deliver all of the receivership

property to the receiver” and that if he has not “delivered, and there was a way in which he could

have delivered, then there will be contempt sanctions.” Mr. Giuliani has neither complied with that

obligation nor provided any explanation for why he could not do so. Plaintiffs respectfully submit

that the Court should require Mr. Giuliani to show why he should not be held in contempt for his

failure to comply with the various Turnover Orders.

                                  FACTUAL BACKGROUND

       The relevant procedural history and factual background relating to the underlying

litigation—including the resulting $148 million jury verdict, Mr. Giuliani’s “willful shirking of his


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discovery obligations” that led to a default judgment—as well as his subsequent attempt to declare

bankruptcy is laid out in Plaintiffs’ motion to enforce their judgment. ECF No. 9; see generally

Freeman v. Giuliani, No. 21-cv-3354 (D.D.C. Dec. 23, 2021); In re Rudolph W. Giuliani, No. 23-

12055-SHL (Bankr. S.D.N.Y. Dec. 21, 2023). Here, Plaintiffs recite only the facts directly relevant

to this motion.

       A.         Mr. Giuliani Identifies Personal Property In Which He Has A Legal Interest
                  in His Bankruptcy Filings.

       On January 26, 2024, shortly after filing for bankruptcy pursuant to Chapter 11 of the

bankruptcy code, Mr. Giuliani filed an Official Form 106A/B with another court in this District

identifying his assets for which he was attempting to obtain bankruptcy protection. ECF No. 10-2

(“Bankruptcy Schedule”). Mr. Giuliani’s Bankruptcy Schedule identified two pieces of real estate:

a condominium located at 45 East 66th Street in New York City (“New York Apartment”) and a

home at 315 South Lake Drive in Palm Beach, Florida (“Palm Beach Condo”). It also specified,

inter alia, the following items as among his personal property:

                 Mercedes-Benz, Model SL500, model year 1980, valued at $25,000;
                 Various household goods and furnishings, valued at $20,000;
                 Sports Memorabilia–signed Reggie Jackson picture, signed Yankee
                  Stadium picture, signed Joe Dimaggio [sic] shirt, of unknown value; and
                 Costume jewelry, diamond ring, 3 yankee world series [sic] rings, 2 Bulova
                  watches, 5 Shinola watches, 1 Tiffany & Co watch, 1 Seiko Watch, 1 Frank
                  Muller watch, 1 Graham watch, 1 Corum watch, 1 Rolex, 2 IWC watches,
                  1 lnvicta watch, 2 Breitling watches, 1 Raymond Weil Watch, 1 Baume &
                  Mercier Watch and 6 additional watches, all valued at $30,000.

Id. at 4–6. Photographs of the interior of Mr. Giuliani’s New York Apartment—which were

published publicly in July 26, 2023 when he listed the condominium for $6.5 million—reflected

the physical presence of some of those contents, including the signed Joe DiMaggio shirt and art

and furnishings:



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See StreetEasy, https://streeteasy.com/building/45-east-66-th-street-building/10w (last visited

Dec. 11, 2024). In his Bankruptcy Schedule, Mr. Giuliani also identified various bank accounts,

including a number held at Citibank. ECF No. 10-2 at 6.1




1
  Mr. Giuliani has consistently refused to provide information relating to his financial accounts or
those of the entities that he owns. Plaintiffs-Receivers have been delayed in filing papers relating
to Mr. Giuliani’s cash assets given the challenges in receiving related discovery, but are hoping to
submit a motion relating to cash assets in the near future.

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       B.      Plaintiffs Seek And The Court Enters The Turnover Order Requiring Mr.
               Giuliani To Deliver All Receivership Property Or Documents Necessary For
               Their Transfer By October 29, 2024.

       On August 30, 2024, Plaintiffs filed a motion to enforce their judgment against Mr. Giuliani

seeking an order directing Mr. Giuliani to turn over to Plaintiffs the property he identified in the

Bankruptcy Schedule and to appoint Plaintiffs as receivers pursuant to New York Civil Law and

Practice Rule (“N.Y. C.P.L.R.”) Sections 5225 and 5228. Specifically, Plaintiffs sought five

categories property: (1) the New York Apartment; (2) the Palm Beach Condo; (3) unpaid fees from

the Trump campaign; (4) nonexempt cash in two Citibank accounts (with account endings -1428

and -5812); and (5) personal property disclosed in the Bankruptcy proceeding, including the

Mercedes, “various items of furniture,” “Sports Memorabilia,” the “Signed Reggie Jackson

Picture,” the “Signed Yankee Stadium picture,” the “Signed Joe DiMaggio shirt,” “Costume

jewelry,” the Yankee World Series Rings, and all of the identified watches. ECF No. 9 at 7–10.

       Mr. Giuliani consented to essentially all of the relief requested in Plaintiffs’ motion. See

ECF No. 44 at 2 (consenting to the appointment of a receiver to effect the sale of the New York

Apartment); id. (consenting to the appointment of a receiver to hold defendant’s personal property,

specifically “a great many” wristwatches); id. at 3 (consenting to the appointment of a receiver to

hold defendant’s “collectibles,” including sports memorabilia and a 1980 Mercedes automobile);

id. at 3–4 (consenting to the appointment of a receiver to hold family heirlooms and items of

sentimental value, such as Defendant’s grandfather’s wristwatch). Plaintiffs requested a

modification to their proposed order as to the World Series rings, given the claim by Intervenor-

Defendant Andrew Giuliani that his father had gifted him the four rings in 2018. ECF Nos. 45, 46,

59.




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       On October 22, 2024, the Court entered the Turnover Order, which deferred decision on

the Palm Beach Condo and the World Series Rings,2 but granted Plaintiffs’ motion for turnover as

to all other categories of Defendants’ property, including: the New York City Apartment; the

nonexempt cash in the Citibank checking accounts with account numbers ending in -1428 and -

5812; the Mercedes-Benz; and personal property to include various items of furniture; television;

sports memorabilia; the signed Reggie Jackson picture; the signed Yankee Stadium picture; the

signed Joe DiMaggio shirt; costume jewelry; diamond ring; various watches; and “any additional

property as may be ordered by the Court upon motion of Receivers or other judgment creditors of

Defendant.” Turnover Order at 16–18 (the “Receivership Property”); see also ECF Nos. 67, 74.

The Turnover Order appointed Plaintiffs the receivers of the Receivership Property and directed

Mr. Giuliani to “deliver to Plaintiffs-Receivers, and execute and deliver any document necessary

to effectuate delivery to Plaintiffs-Receivers of, all of the Receivership Property” by October 29,

2024. Turnover Order at 16.

       C.      Mr. Giuliani Did Not Deliver Any Of The Receivership Property Or
               Documents Necessary To Effectuate Its Delivery By October 29, 2024.

       Counsel for Mr. Giuliani communicated to Plaintiffs’ counsel regarding turnover

arrangements for the first time on October 29, 2024, the date Defendant was ordered to deliver the

Receivership Property to the Plaintiffs. ECF No. 73. That same day, counsel for Mr. Giuliani

submitted a filing with the Court stating that Mr. Giuliani “is, and will remain, ready to comply”

and said that he was “ready to make the turnovers” but was awaiting further instructions, including

“regarding details and documents, e.g. documents transferring title of shares and car.” ECF No.



2
  Although the Turnover Order mentions “three World Series rings” (Turnover Order at 3),
Plaintiffs’ understanding is that there are in fact four World series rings over which Mr. Giuliani at
one point had possession. See Declaration of Aaron E. Nathan Ex. 1, at 5 (Andrew Giuliani
acknowledging that his father, Mr. Giuliani, had four World Series rings).


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68. Counsel for Plaintiffs immediately, and unsuccessfully, attempted to reach Mr. Giuliani’s

counsel by phone, including to discuss the immediate transfer of the titles of the New York

Apartment and the Mercedes. See Declaration of Aaron E. Nathan (“Nathan Decl.”), ¶ 3. Mr.

Giuliani did not deliver any of the Receivership Property or deliver any documents necessary to

effectuate delivery by October 29, 2024. See id.

        D.     In The Days After The Turnover Order Deadline Passed, Plaintiffs Continue
               To Attempt To Understand The Location Of The Receivership Property.

        On October 30, 2024, counsel for Plaintiffs-Receivers and Defendant spoke by telephone.

Based on this call, it was clear that Mr. Giuliani’s counsel was not prepared to have Plaintiffs’

counsel pick up the New York Apartment shares or keys, and he was unable to say where the

shares and related documents were located. Id. Ex. 2, at 2–3. He nevertheless assured Plaintiffs’

counsel that they would figure that out, and also find a copy of the keys to the apartment. Id. With

respect to the physical property, Mr. Giuliani’s counsel said he was unable to say with any

specificity where any items were located. Id. He said he “suspect[ed]” some of it was in the New

York Apartment and that he was “told” that some of it was in Florida. Id. at 3. Mr. Giuliani’s

counsel also informed Plaintiffs’ counsel that he was not aware of the current balances in the

accounts but that he would get back to Plaintiffs’ counsel about it. Id. Counsel for Plaintiffs-

Receivers also reiterated the need for an “inventory detailing the locations of each specific item

subject to” the Turnover Order. Id. Later that day, counsel for Mr. Giuliani informed Plaintiffs for

the first time that Mr. Giuliani had property in storage at CTS in Ronkonkoma, NY. Nathan Decl.

Ex. 4, at 4.

        Counsel for Plaintiffs-Receivers filed a status update with the Court later that day,

including to explain the above-referenced communications and to inform the Court that a

representative of the Plaintiffs-Receivers’ moving and storage company would be visiting the New



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York Apartment the following morning “for the purpose of assessing the moving and storage needs

with respect to the receivership property contained in the apartment.” ECF No. 73 at 2. That

evening, counsel for Plaintiffs-Receivers emailed counsel for Mr. Giuliani to confirm that the visit

to the New York Apartment would occur the following morning at 9:30 a.m. Nathan Decl. Ex. 3.

On October 31, 2024, counsel for Plaintiffs-Receivers and a representative of a moving and storage

company arrived at the New York Apartment at the time identified, only to discover that no one

had notified anyone at the building about their need to access Mr. Giuliani’s unit. Nathan Decl.

¶ 6, Ex. 4, at 3–4. After waiting for nearly two hours, counsel for Plaintiffs-Receivers gained entry

to discovery that the New York Apartment was almost entirely empty, including void of the vast

majority of furniture, art, and sports memorabilia (including the signed Joe DiMaggio shirt). Id.

¶ 6, Ex. 4, at 3–4. Below is a comparison of one photograph from the former listing of the New

York Apartment, alongside a photograph taken by Plaintiffs-Receivers’ counsel of the same room

on October 31, 2024:




       In a follow-up email to Mr. Giuliani’s counsel on October 31, 2024, counsel for Plaintiffs-

Receivers explained that the property manager confirmed that Mr. Giuliani had moved the contents

out of the New York Apartment a month earlier. Nathan Decl. Ex. 4, at 3. Accordingly, Plaintiffs-




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Receivers instructed Mr. Giuliani to provide various confirmations by the end of that day,

including to:

               “Explain where the contents of the New York apartment were taken, the
                date of the move (or moves), and where the receivership property is as of
                today;
               Provide a copy of any inventory in Mr. Giuliani’s possession or control
                detailing the contents of the storage unit in Ronkonkoma;
               Provide authorization to access to the storage unit in Ronkonkoma and
                inspect its contents, including by cc’ing the attorneys on this email and [our
                mover, who will] require access to the storage unit tomorrow, and your
                client must ensure that such access is granted without delay. Further, we
                expect Mr. Giuliani to take all steps to ensure the receivership has ongoing
                access in order to take all of the property in the storage unit into possession
                at a date in the near future;
               Confirm the location of the co‐op shares, proprietary lease and keys to the
                New York apartment and explain how you plan to deliver them to the
                receivers . . . .”

Id. Ex. 4, at 4. The same instruction demanded that, by the end of November 1, 2024, they:

“Provide a list of all property subject to the turnover and receivership order, identifying the

property with specificity and identifying where it is currently located.” Id. Also on October 31,

2024, the Court ordered Plaintiffs-Receivers to file a status report on November 4, 2024, and

scheduled a telephonic status conference for November 7, 2024 absent “written notice that all

ordered propriety has been turned over.” ECF No. 75.

       The next day, counsel for Mr. Giuliani sent an email to the owner of CTS—Joseph

Verderber—at the email address joethebox@theamericafirstwarehouse.com, copying Mr. Giuliani

at his proton email address (TruthandJustice4U@protonmail.com) and others, requesting that

counsel for Plaintiffs-Receivers receive access to Mr. Giuliani’s property there. Nathan Decl. ¶ 8,

Ex. 5. In response to the instructions in the October 31, 2024 email, counsel for Mr. Giuliani were

unable to explain the location of the property from the New York Apartment, or the location of the

New York Apartment’s share certificates or lease. Id. ¶ 9, Ex. 4 at 1–2. They confirmed that they




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would have Mr. Giuliani “sign documents transferring title” to the Mercedes and would turn over

watches that were located in Palm Beach. Id. They also explained that the Citibank account was

“frozen” and that there would need to be further orders from the Court to permit transfer. Id.

       On November 4, 2024, Plaintiffs-Receivers filed a status report as required, explaining that

as of that day Mr. Giuliani had “yet to transfer any property into the Receivers’ custody” and that

both he and his counsel “have refused or been unable to answer basic questions about the location

of most of the property subject to the receivership.” ECF No. 81 at 1. The same filing explained

that Mr. Giuliani’s counsel was unable to confirm the location of the property previously located

in the New York Apartment or “a large majority of the other receivership property.” Id. at 2. While

his lawyers confirmed that “some unspecified property” was located at the CTS facility, they could

not confirm “what property is stored there” and have consistently refused to provide an inventory

of the same. Id. At that time, Plaintiffs-Receivers had been separately attempting to gain access to

CTS, but were unsuccessful due to an inability to secure access from anyone at CTS. Id. In

response to Plaintiffs’ letter, the Court converted the November 7, 2024 hearing to one in-person

and required Mr. Giuliani to appear personally.3 Plaintiffs-Receivers filed an updated status report

on November 5, 2024, to advise the Court that press photographers from that day captured Mr.

Giuliani riding in the Mercedes that the Turnover Order ordered he deliver to Plaintiff-Receivers.

ECF No. 85.

       Counsel for Mr. Giuliani responded by way of a letter on November 6, 2024, in which they

stated that they were “told that no property belonging to Defendant was removed in violation of a

Restraining Notice” and taking the position that any next steps as to CTS are “outside Defendant’s




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  Mr. Giuliani asked the Court to move the conference or permit him to attend remotely due to a
live radio broadcast that evening, which the Court subsequently denied. ECF Nos. 83, 84.

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control” and that he “does not and cannot control CTS.” ECF No. 88 at 1–2. They also stated that

they “have told Plaintiffs where property is located, including CTS and the Palm Beach Condo,

[and] where the wristwatches” are located. Id. at 2. Counsel stated:

                “Plaintiffs continue to insist and fixate on an inventory of items. But
                again, that complaint is pointless. We understand that Defendant, at
                this time, cannot provide, from memory or records, an inventory.
                Nothing in the Receivership Order requires him to know that
                information or to provide an inventory. In any event, the relevant
                question is, ‘what property exists,’ not ‘what does Defendant
                think/believe/recall as to what property exists.’ Plaintiffs should
                gain possession of the property and then take whatever further steps
                they regard as necessary.”

Id. at 3. As far as the funds, their position remained that it was Plaintiffs’ responsibility to contact

Citibank. Id. Same too as to the Mercedes, the necessary title documents for which Mr. Giuliani’s

counsel stated it was up to Plaintiffs-Receivers to provide. Id.

        E.      The Court Enters The Instructions Order Requiring Mr. Giuliani To Deliver
                All Receivership Property By November 15, 2024.

        The Court held a status conference on November 7, 2024, including to discuss the lack of

compliance with the Turnover Order (“November 7 Hearing”). See Nathan Decl. ¶ 10, Ex. 6.

During the November 7 Hearing, counsel for the Plaintiffs-Receivers explained that “we’ve asked

over and over again where this stuff is and he’s refused to answer.” Id. Ex. 6, at 19:16–17. Counsel

for Mr. Giuliani responded by stating:

                “What he’s asking me for, for a week or more, is ‘I want an
                inventory. I need an inventory. I need to know where this stuff is. I
                need to know what it is.’ We told him where it is. It’s in Palm
                Beach, it’s in a storage facility in Ronkonkoma, and it’s in the New
                York apartment. Three places.”

Id. at 20:18–24 (inner quotations and emphasis added). The following exchange between the Court

and counsel for Mr. Giuliani occurred in response to their position that their client lacks control

over the CTS facility:



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                 “THE COURT: Isn’t the right approach to that, I’ve ordered your
                 client to turn over all of this property, and your client consented to,
                 said he had possession of all of this property at the time that I entered
                 the order. Procedurally, he doesn’t have a choice but to comply. If
                 it becomes impossible for him to comply, then the plaintiff moves
                 for contempt, your client gets on the stand, and he goes through all
                 of the efforts that he made to get it and why he was frustrated. It
                 strikes me as kind of hard to believe that your client would not be
                 able to get somebody at the storage facility to open up the storage
                 facility to get his property. It’s not clear to me what efforts he’s
                 made.

                 MR. CARUSO: I’ll tell what you efforts we’ve made.

                 THE       COURT:          No.       What       efforts      he      made.

                 MR. CARUSO: He didn’t make any efforts other than what I made.

                 THE COURT: Okay. That’s kind of -- you might consider your
                 words, because it does play into what will happen if there were a
                 contempt proceeding against him.”

Id. at 21:17–22:11. Mr. Giuliani’s counsel then confirmed that neither he nor his client has “any

objection to the plaintiffs going and looking at whatever is” at CTS, to which the Court explained

that “it’s not their obligation” and that it is “his obligation or his agent’s obligation to deliver it to

them. That’s the order.” Id. at 22:25–23:5. The Court emphasized, in the presence of Mr. Giuliani,

the following:

                 “. . . let me tell you right now what I’m going to make clear with
                 respect to that order, which is that he is under an unqualified
                 obligation to deliver all of the receivership property to the receiver.
                 All of that is property that, at the time that I entered this, I found that
                 he possessed. And if he doesn’t comply, then I’m sure that I’m going
                 to get a motion for contempt. And you and I both know the standards
                 of contempt. He’s not going to be in contempt if he’s made efforts
                 and it’s impossible to comply with the order. But that’s the standard
                 that he’s going to be held to [Mr. Caruso: All right.] And you know,
                 if he hasn’t delivered, and there was a way in which he could have
                 delivered, then there will be contempt sanctions.”

Id. at 24:2–16 (emphasis added).




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       During the November 7 Hearing, counsel for Mr. Giuliani, with Mr. Giuliani able to

confirm accuracy, made various representations about specific pieces of Receivership Property.

Counsel represented that the title to the Mercedes was located “in Palm Beach” and assured the

Court that his client would “promptly” turn over both the car keys and title document as soon as

he received a place for delivery. Id. at 31:4–32:2. Mr. Giuliani’s counsel also confirmed that sports

memorabilia, including the signed Joe DiMaggio shirt and Reggie Jackson picture, are located in

the CTS facility, which the Court explained that his client is “obligated to deliver.” Id. at 32:11–

23. As far as the funds in the Citibank account, and in response to claims that Plaintiffs-Receivers

should get the money directly from Citibank, the Court explained that it was Mr. Giuliani’s

“obligation to get it from Citibank” and to avail himself of the Court if unsuccessful. Id. at 30:18–

23.

       Following the November 7 Hearing, this Court issued the Instructions Order. ECF No. 94.

The Instructions Order directed Plaintiffs-Receivers to provide, by November 11, 2024, the date

by and location to which Mr. Giuliani was to deliver the Receivership Property. Id. at 1–2. The

Instructions Order then stated:

               “Defendant has until Friday, November 15, 2024 to comply with
               the Plaintiff-Receivers’ instructions and to deliver to the Plaintiff-
               Receivers all items of property identified in the Turnover Order,
               according to the Plaintiff-Receivers’ instructions.”

Id. at 2 (emphasis added). The Instructions Order warned that “continued violation of the

Turnover Order may result in contempt sanctions.” Id. (emphasis added).

       On November 11, in accordance with the Instructions Order, Plaintiffs instructed Mr.

Giuliani of the time, date, and location to which all outstanding Receivership Property was to be

delivered. Nathan Decl. ¶ 11, Ex. 7 at 1. Specifically, Plaintiffs instructed Mr. Giuliani to deliver

by November 15, 2024: all funds to a bank account via wire; all watches, luxury jewelry, and the



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Mercedes title to a bank safe deposit box; the Mercedes to a luxury storage garage; and “any

physical property, including the contents of the storage unit in Ronkonkoma, as well as any other

physical possession regardless of its current location” to a specified storage facility for Plaintiffs-

Receivers. Id. at 1 (emphasis added).

        On November 13, 2024, Plaintiffs discovered additional information about the property at

CTS, including the voluminous amount of property stored there (possibly 8 storage containers and

24 pallets of boxes and furniture, and additional furniture), some of which is reflected below:




See ECF Nos. 106; 106-1. Additionally, Plaintiffs-Receivers received an invoice reflecting that

Dr. Maria Ryan (not Mr. Giuliani) was listed as the billing contact, as well as a photographic list

prepared by CTS that does not identify each specific piece of property, but rather provides pictures

of wrapped-up items and describes categories of items like “Bundle of 3 Small Pictures.” See ECF

No. 106-1. Given this new information, Plaintiffs requested the Court modify Plaintiffs’

instructions with respect to the property stored at CTS’s facility so that Plaintiffs could “take a full

inventory, determine what property qualifies as Receivership Property, and take possession in

accordance with the Turnover Order.” ECF No. 106 at 3; ECF No. 108.




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       F.      Mr. Giuliani Delivers Only The Mercedes, 18 Watches, And One Ring By
               The November 15 Instructions Order Deadline.

       On November 15, 2024, Mr. Giuliani delivered the Mercedes, a diamond ring, and 18

watches. He did not deliver any additional Receivership Property, including the remaining eight

watches, any furniture, any art, any costume jewelry, or any sports memorabilia, including the

signed Reggie Jackson picture, signed Yankee Stadium picture, or signed Joe DiMaggio shirt. Nor

did he deliver any deed, title, or right of ownership to the Mercedes, or any funds, including those

funds from his Citibank account. ECF No. 147 at 1, 8–9. Mr. Giuliani also had not delivered the

keys, stock, proprietary lease, or any of the underlying ownership documents for the New York

City Apartment. Id. at 8–9. He did not delivery any physical possessions from any non-CTS

location to the Plaintiffs-Receivers’ specified storage facility. Id.

       As far as the property at CTS, and as counsel to the Plaintiffs-Receivers explained in a

Court filing on November 22, 2024, representatives of the Plaintiffs-Receivers worked diligently

to inventory the voluminous amount of property located there at the Plaintiffs-Receivers’ own

expense. Id. at 2–3. Plaintiffs-Receivers intended to continue doing so until completion—which

CTS representatives indicated would take an additional three to four days—until they discovered

a video posted on X by Mr. Verlander (the owner of CTS) on November 20, 2024 from inside the

storage unit containing Mr. Giuliani’s possessions in which he stated:

               “It’s me, Joe The Box, from American First Warehouse, the
               American First Patriot. This is where we are going to do it. They are
               going to dissect the life of Rudy Giuliani. Right here. In front of my
               eyes and in front of your eyes because I’m going to film it. This is
               not going to happen. America has to come back real fast. Pray for
               Rudy Giuliani, today is his day.”

Id. at 5. The same morning, Mr. Giuliani’s attorney held a press conference outside of the New

York City offices of Plaintiffs’ counsel during which he attacked this proceeding, Plaintiffs’

counsel, and the underlying judgment. Id. at 3–4.


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       As a result, Plaintiffs-Receivers modified the instructions relating to CTS, which the Court

entered in the Modified Instructions Order on November 22. ECF No. 148; see also Nathan Decl.

Ex. 8. In the Modified Instructions Order, the Court explained that, pursuant to the Instructions

Order, “Defendant was required by November 15, 2024, to deliver to Plaintiffs-Receivers ‘all

items of property identified in the Turnover Order, according to the Plaintiffs-Receivers’

instruction’” and remarked that “Defendant has not complied with that order nor with the Turnover

Order.” ECF No. 148, at 2 (emphasis in original). The Modified Instructions Order directed the

following:

              “In light of Defendant’s noncompliance, Plaintiffs-Receivers have
              issued new directives to Defendant pursuant to the Turnover Order.
              Id. at 7–8. The Court has reviewed the directives and finds that they
              are consistent with, and authorized by, the Turnover Order.
              Accordingly, and for the avoidance of doubt, the Court orders that
              Defendant Giuliani shall comply with the following instructions
              provided by the Plaintiffs-Receivers on pain of contempt:

              1. By no later than 5 p.m. Friday, December 6, 2024, Mr. Giuliani
              shall segregate all Receivership Property located at the CTS Facility
              from property that is not subject to the Turnover Order;

              2. By the same date and time, Mr. Giuliani shall provide a detailed
              list containing pictures of the segregated Receivership Property
              located at the CTS Facility sufficient to show the size and quantity
              of that property;

              3. By Monday, December 9, 2024, the Receivers will provide Mr.
              Giuliani with the location of a New York-based storage facility, and
              the date and time when Mr. Giuliani shall deliver all of the
              Receivership Property located at the CTS Facility;

              4. Mr. Giuliani shall deliver all of the Receivership Property stored
              at the CTS Facility to the New York-based storage facility provided
              by Receivers no later than Friday, December 13, 2024; [and]

              5. Defendant Giuliani, his attorneys, agents, and persons in active
              concert or participation with him or them shall not transfer,
              encumber, or interfere with any of Defendant’s property located at
              Corporate Transfer and Storage, Inc. (“CTS”) or America First



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               Warehouse (“AFX”) until the Receiver files notice on the docket
               that the above conditions have been satisfied.”

ECF No. 148 at 2–3.

       Counsel for Plaintiffs-Receivers also notified counsel for Mr. Giuliani of several

deficiencies in the Receivership Property Mr. Giuliani had turned over to date and instructed him

to deliver the missing items at or in advance of the November 26 Hearing or provide answers as

to why he could not do so by 3:00 p.m. on November 25, 2024. ECF No. 147 at 8–9. The missing

items listed in the November 22 instructions included the following: any deed, title, or right of

ownership to the Mercedes; various watches and jewelry, including 1 Shinola watch, 1 Corium

watch, 1 IWC watch, 1 Invicta watch, 2 Breitling watches, 3 additional watches, or any costume

jewelry; the keys, stock, or proprietary lease for the New York Apartment, as well as any necessary

paperwork to transfer title exclusively into Mr. Giuliani’s name; the signed Joe DiMaggio Jersey

or its location; any other signed art or sports memorabilia; and the non-exempt funds from Mr.

Giuliani’s Citibank account. Id. Mr. Giuliani did not deliver any of the missing items by the

November 26 Hearing or provide answers as to why he could not deliver them. Nathan Decl. ¶ 13.

       G.      In Response to The Modified Instructions Order, Mr. Giuliani Did Not Deliver
               All Receivership Property.

       On December 5, 2024—the day before Mr. Giuliani was obligated to “segregate all

Receivership Property located at the CTS Facility from property that is not subject to the Turnover

Order”—counsel for Mr. Giuliani called counsel for Plaintiffs-Receivers asking for an inventory

of the property stored at CTS. Id. ¶ 14. Plaintiffs provided a copy of the CTS Packing List, which

they had received from counsel for CTS. Id. On December 6, 2024, counsel for Mr. Giuliani

provided Plaintiffs-Receivers with the same CTS Packing List, having added new annotations

characterizing the type of property the photographs purportedly depict (e.g., “Household

Furniture” or “wearing apparel”) and/or statements about whether the property qualifies as an


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“exemption” or are “Not items for turnover.” Id., Ex. 9. The CTS Packing List identifies 225

categories of items, 220 of which the annotations indicated either are “Not items for turnover” or

are subject to exemptions.4 Id. Mr. Giuliani identified only five items “to be turned over”:




Id. at 21, 26, 27, 37.

        It does not appear that Mr. Giuliani or his counsel made any personal effort to unpack,

inspect, categorize, inventory, or segregate any of the Receivership Property at CTS, and instead

relied on the CTS Packing List and its own non-descript pictures and descriptions to decide what

he is willing to turnover. Notably missing from the CTS inventory are items that counsel for Mr.

Giuliani previously said were stored at the CTS facility, including the signed Joe DiMaggio shirt

and the signed Reggie Jackson picture, and other items that Mr. Giuliani is obligated to deliver

such as additional watches and costume jewelry. Turnover Order at 17–18; Nathan Decl. Ex. 6, at

31:4–32:2. If those materials are not in the CTS facility, then Mr. Giuliani was required to deliver




4
 Any exemptions Mr. Giuliani raises at this stage are waived. As the Court explained on November
7, 2024, Mr. Giuliani was required to raise any claimed exemptions in a motion to modify the
Turnover Order. Nathan Decl. Ex. 6, at 4:13–25; 32:03–06. Mr. Giuliani did file such a motion,
but it was denied for failure to comply with the local rules. See ECF Nos. 123, 125. While Mr.
Giuliani could have refiled his motion, he chose instead to notice an appeal. See ECF No. 142;
Freeman v. Giuliani, No. 24-3070-cv (2d Cir.).


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them on November 15, 2024. If those materials are in the CTS facility, then, as discussed below,

Mr. Giuliani has failed to deliver them in accordance with the Court’s Modified Instructions Order.

       On December 9, 2024, pursuant to the Modified Instructions Order, Plaintiffs-Receivers

instructed Mr. Giuliani to deliver the Receivership Property stored at the CTS Facility to a storage

facility in Richmond Hill, NY (“Plaintiffs-Receivers’ Facility”) at 11:00 AM ET on Friday

December 13, 2024. Nathan Decl. ¶ 15, Ex. 10; ECF No. 148 at 2–3. Plaintiffs-Receivers also

asked for clarification on the specific Receivership Property that he intended to deliver. Nathan

Decl. ¶ 15, Ex. 10. Mr. Giuliani’s counsel did not reply. Id.

       On December 13, 2024, Mr. Giuliani delivered around 40 individual items to the Plaintiffs-

Receivers’ Facility, including the five items of miscellaneous sports memorabilia, a limited

amount of furniture, and some clothing. Nathan Decl. ¶ 16; Declaration of Amelia Diaz (“Diaz

Decl.)” ¶ 4.5 Based on Plaintiffs-Receivers’ review, Mr. Giuliani did not deliver any of the

following items: the signed Joe DiMaggio shirt; the signed Reggie Jackson picture; the Signed

Yankee Stadium Picture; the remaining watches (1 Shinola watch, 1 Corium watch, 1 IWC watch,

1 Invicta watch, 2 Breitling watches, 3 additional watches); costume jewelry; all of the furnishings

and art that had been located in the New York Apartment. Diaz Decl. ¶¶ 5–6, 8. The delivery also

did not include any deed, title, or right of ownership to the Mercedes, or the keys, stock, proprietary

lease, or any of the underlying ownership documents for the New York City Apartment. See

Turnover Order at 16–18; Diaz Decl. ¶ 7.




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  Contrary to assertions parroted by Mr. Giuliani on Twitter, counsel for Plaintiffs-Receivers were
not present at the time the Receivership Property was delivered on December 13, 2024. Nathan
Decl. ¶ 17, Ex. 11. In addition, upon visiting the Plaintiffs-Receivers’ Facility on December 16,
2024, a law clerk working under the supervision of counsel for Plaintiffs-Receivers found that all
the delivered Receivership Property was securely stored and did not appear to have sustained any
damage. Diaz Decl. ¶ 3.


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       As of the date of this filing, Mr. Giuliani still has not turned over a substantial share of the

Receivership Property items, including the deed, title, or right of ownership to the Mercedes,

various watches and jewelry, costume jewelry, various items of furniture, the keys, stock, or

proprietary lease for the New York Apartment, the signed Joe DiMaggio shirt, the signed Reggie

Jackson picture, the Signed Yankee Stadium Picture, or any of the non-exempt funds from his

Citibank accounts. See Nathan Decl. ¶ 18; Diaz Decl. ¶¶ 4–8.

                                      LEGAL STANDARD

       A district court has the authority to hold a party in civil contempt if “(1) the order the

contemnor failed to comply with is clear and unambiguous, (2) the proof of noncompliance is clear

and convincing, and (3) the contemnor has not diligently attempted to comply in a reasonable

manner.” Paramedics Electromedicina Comercial, Ltda. v. GE Med. Sys. Info. Techs., Inc., 369

F.3d 645, 655 (2d Cir. 2004) (citing King v. Allied Vision, Ltd., 65 F.3d 1051, 1058 (2d Cir. 1995));

see also BOC Aviation Ltd. v. AirBridgeCargo Airlines, LLC, No. 22-cv-2070 (LJL), 2022 WL

17581775, at *7 (S.D.N.Y. Dec. 12, 2022). The moving party does not need to establish that the

“violation was willful.” Paramedics Electromedicina Comercial, Ltda., 369 F.3d at 655. The

“existence of a pending appeal does not divest this Court of jurisdiction to enforce its judgments

to the fullest extent.” City of New York v. Venkataram, No. 06 Civ. 6578 (NRB), 2012 WL

2921876, at *3 (S.D.N.Y. July 18, 2012) (finding party in contempt for failure to turnover assets

as ordered).

       Once a moving party has made a showing of contempt, the other party bears the burden of

proving “clearly, plainly and unmistakably” that “compliance is impossible.” Huber v. Marine

Midland Bank, 51 F.3d 5, 10 (2d Cir. 1994). Conclusory “statements are inadequate to carry this

burden” and the court “is not required to credit the alleged contemnor’s denials if it finds them to




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be incredible in context.” Schwarz v. ThinkStrategy Cap. Mgmt. LLC, No. 09 Civ. 9346 (PAE),

2015 WL 4040558, at *10 (S.D.N.Y. July 1, 2015).

                                           ARGUMENT

I.     MR. GIULIANI IS IN CONTEMPT OF THE COURT’S TURNVER ORDERS.

       A.      The Turnover Orders Are Clear And Unambiguous.

       The Turnover Orders are clear and unambiguous. The Turnover Order ordered Mr. Giuliani

to, by October 29, 2024, “deliver to Plaintiffs-Receivers, and execute and deliver any document

necessary to effectuate delivery to Plaintiffs-Receivers of, all of the Receivership Property” based

on assets he identified and described in bankruptcy proceedings. Turnover Order at 16. Following

the lack of any such delivery, the Instructions Order ordered Mr. Giuliani to, inter alia, “deliver to

the Plaintiff-Receivers all items of property identified in the Turnover Order, according to the

Plaintiff-Receivers’ instructions” by November 15, 2024 (with an exception only for the property

located at CTS pursuant to a subsequent instruction from Plaintiffs-Receivers). ECF No. 94 at 2.

The Modified Instructions Order ordered Mr. Giuliani to “segregate all Receivership Property

located at the CTS Facility from property that is not subject to the Turnover Order”, to “provide a

detailed list containing pictures of the segregated Receivership Property located at the CTS Facility

sufficient to show the size and quantity of that property” by “no later than 5 p.m. Friday, December

6, 2024,” and to “deliver all of the Receivership Property stored at the CTS Facility” to Plaintiffs-

Receivers by Friday December 13, 2024. ECF No. 148 at 2–3. The three Turnover Orders leave

“no uncertainty in the minds of those to whom it is addressed” and allow Mr. Giuliani “to ascertain

from the four corners of the order precisely what acts are forbidden.” King v. Allied Vision, Ltd.,

65 F.3d 1051, 1058 (2d Cir. 1995) (cleaned up). In addition, the Court clearly and unambiguously

explained to Mr. Giuliani that he was “under an unqualified obligation to deliver all of the

receivership property to the receiver” and further elaborated about its expectations of Mr. Giuliani


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to Mr. Giuliani at multiple hearings, during which Mr. Giuliani or his counsel could have asked

for any clarifications required. Nathan Decl. Ex. 6 at 24:04–07.

       B.       Evidence Of Mr. Giuliani’s Non-Compliance Is Clear And Convincing.

       The evidence of Mr. Giuliani’s non-compliance is clear and convincing: Mr. Giuliani was

ordered to provide the Receivership Property to Plaintiffs by certain dates and times and Mr.

Giuliani did not do so. The failure to deliver the majority of the Receivership Property is “adequate

to demonstrate a reasonable certainty that a violation occurred.” Levin v. Tiber Holding Corp., 277

F.3d 243, 250 (2d Cir. 2002) (internal quotes omitted) (citing Callanan Indus., Inc. v. White, 123

A.D.2d 56, 510 N.Y.S.2d 230, 231 (3d Dept. 1968)); see Venkataram, 2012 WL 2921876, at *3

(“patent” failure to deliver documents as required by a turnover order constitutes clear and

convincing evidence of noncompliance). Indeed, when all is said and done, Mr. Giuliani’s failure

to deliver the missing Receivership Property is very likely to be undisputed, not least because it is

indisputable.

       C.       Mr. Giuliani Has Not Diligently Attempted To Comply With the Court’s
                Orders.

       Mr. Giuliani has not diligently attempted to comply with the Turnover Order in a

reasonable manner. Here, Mr. Giuliani’s counsel conceded that Mr. Giuliani did not make “any

efforts” to actually deliver any items as required by the Turnover Order in advance of its deadline.

Nathan Decl. Ex. 6, at 22:1–8. Since that time, Mr. Giuliani turned over handfuls of his

possessions, but has never explained why in all that time he has been unable to accomplish any of

the following tasks: securing and delivering title to the Mercedes; delivering the keys to his New

York Apartment; ensuring transfer of the nonexempt cash from his Citibank accounts; delivering

all of the specific property identified in the Turnover Order regardless of storage location,

including (for example) the outstanding watches, cash, the signed Joe DiMaggio shirt, furniture



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from the New York Apartment; or physically sorting through the items at CTS to ensure a thorough

and complete collection and delivery of all Receivership Property. While Mr. Giuliani and his

counsel have proffered various excuses and made a number of attempts to shift the burden to

Plaintiffs-Receivers to effectuate the necessary legal transfer of property, that does not constitute

an attempt to comply with his obligations, much less show that he has been “reasonably diligent

and energetic in attempting to accomplish what was ordered.” City of New York v. Venkataram,

568 F. App’x 63, 64 (2d Cir. 2014) (quoting Drywall Tapers & Pointers of Greater N.Y. v. Loc.

530 of Operative Plasterers & Cement Masons Int’l Ass’n, 889 F.2d 389, 394 (2d Cir. 1989)).

                                         CONCLUSION

       For these reasons, Plaintiffs-Receivers respectfully request that the Court enter an order

directing Mr. Giuliani to show cause why he is not in contempt of the Turnover Order (ECF No.

62), the Instructions Order (ECF No. 94), and the Modified Instructions Order (ECF No. 148), and

why the Court should not order civil contempt sanctions calculated to achieve compliance with

those orders.




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                                                 Respectfully submitted,

Dated: December 18, 2024                         s/ Aaron E. Nathan
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